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                Exhibit B
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                                                                           Michael P. Canty
                                                                           Partner

                                                                           212 907 0863  direct
                                                                           212 907 0700  main
October 18, 2018                                                           212 883 7063  fax
                                                                           mcanty@labaton.com

                                                                           New York Office
VIA E-MAIL                                                                 140 Broadway
[NAME, LAW FIRM, ADDRESS]                                                  New York, NY 10005




Re:    [CASE CAPTION] (the “matter”)



Dear [NAME]:



This Letter Agreement (“Agreement”) between you and Labaton Sucharow LLP (“Labaton
Sucharow”) sets forth the terms and conditions upon which we shall cooperate in the
representation of [CLIENT NAME] (the “Client”), in the above-referenced matter. The Client
has been referred to Labaton Sucharow by you to pursue antitrust claims arising from INSERT
DESCRIPTION. In the event that Labaton Sucharow receives fees as a result of its appointment
as lead or co-lead counsel, being a member of the steering committee, or performing services
with respect to the matter you will be entitled to a percentage of such fees as set forth below.
You will assist Labaton Sucharow in seeking such appointment and in representing Client in this
matter if Labaton Sucharow is appointed (the “Services”).



You confirm that you currently are a member in good standing of the bar of the State of
[INSERT STATE]. You will maintain such status at all times that you continue to have a
relationship with Labaton Sucharow in connection with the referenced matter. You represent
that you are not a party to any agreement that represents a conflict of interest with the terms of
this Agreement or that materially and adversely affects your ability to perform the Services.
Further, you agree you will not enter into any agreement or business relationship during the term
of this Agreement that could place you or Labaton Sucharow in a conflict of interest position.



In order to perform the Services, you shall, among other things, maintain contact with the Client,
promote the services of Labaton Sucharow, and provide Labaton Sucharow with information
pertaining to and access to the Client. In addition, you shall:
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       (1)     in performing the Services comply with all applicable legal and ethical
               requirements, including, but not limited to, Rules 7.1 (Advertising) and 7.3
               (Solicitation and Recommendation of Employment) of the New York Rules of
               Professional Conduct; and



       (2)     obtain final approval from Labaton Sucharow for any print media you intend to
               distribute or make available to the Client or the public that pertains to Labaton
               Sucharow.



You do not have any authority to act on behalf of Labaton Sucharow or make any agreement,
promise, or commitment on its behalf. Nothing in this Agreement shall be construed as creating
any partnership, joint venture, agency, or employment relationship between you and Labaton
Sucharow.



You will provide the Services from an office maintained by you. You will be responsible for
maintaining your own workers’ compensation, employee liability, comprehensive general
liability, malpractice, and any other insurance required by law. Labaton Sucharow shall be
responsible for all staff attorneys retained in connection with the matter irrespective of those
attorneys’ physical location(s).



Subject to the terms and conditions set forth herein, Labaton Sucharow will pay you a fee of ___
percent (__%) of the Net Fee (as defined below) received by Labaton Sucharow. Net Fee means
the amount when, as, and if actually received by Labaton Sucharow as fees for its legal services
after deducting (a) all sums awarded and paid to Labaton Sucharow for reimbursement of
expenses and (b) paid to local or co-counsel for their legal services. If Labaton Sucharow
represents more than one plaintiff, and one or more of such plaintiffs is not a Client referred by
you, the Net Fee upon which payment to you is computed will be apportioned based on the
comparative net losses of the respective clients. For example, if all Labaton Sucharow’s clients
have a total aggregate loss of three million dollars of which two million dollars is attributable to
the Client referred by you, then the Net Fee that forms the basis of the payment to you will be
two thirds (2/3) of the total Net Fee received by Labaton Sucharow.
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You shall not be responsible for any of the costs or expenses incurred in prosecuting the
referenced matter.



Each of the parties shall take all steps necessary and appropriate to comply with all legal and
ethical requirements applicable to it. Without limiting the generality of the foregoing, the parties
shall take all steps required to comply with Rule 1.5(g) of the New York Rules of Professional
Conduct (or any successor rule) including: assumption of joint responsibility and/or work
commensurate with the fee to be provided, full disclosure that there is to be a division of fees and
the amount thereof, the consent of the client thereto, and confirmation thereof in writing. In
connection with the assumption of joint responsibility for litigation, you will have and maintain
malpractice insurance during the entire course of any litigation in which a client introduced by
you and represented by Labaton Sucharow is involved.



This Agreement shall be effective when executed by both parties and shall remain in effect until
the above-captioned action is resolved or dismissed. Notwithstanding, Labaton Sucharow may
terminate this Agreement on one (1) day’s notice should you fail to maintain your status as an
attorney duly admitted to practice.



All notices hereunder shall be given by email and overnight courier as set forth below, and shall
be effective on the business day after delivery to the overnight courier:



       To LAW FIRM:

       [CONTACT INFORMATION]



       To Labaton Sucharow:

       Michael P. Canty, Partner

       Labaton Sucharow LLP

       140 Broadway
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       New York, New York 10005

       mcanty@labaton.com



This Agreement contains our entire agreement and supersedes and renders null and void any and
all prior agreements between the parties, whether written or oral with respect to the referral of
the Client. There have been no promises, statements, or representations made to induce either
party to enter into this Agreement that are not fully set forth herein, and all such prior promises,
statements, and representations, if any, are merged herein and shall not survive. Each party has
entered into this Agreement freely and after full consideration of its rights and obligations.



Any dispute between the parties as to the making, performance, breach, or termination of this
Agreement shall be resolved by arbitration conducted pursuant to the applicable rules of JAMS
in New York City, New York. In any such arbitration, the arbitrator is authorized to award
attorneys’ fees to the prevailing party or parties if the arbitrator finds that the position of the
other party or parties was maintained in bad faith. Judgment upon any award may be entered in
a court of competent jurisdiction located in New York County, NY.



Any modifications, amendments, or addendums to this Agreement must be made in writing and
signed by both parties hereto.



This Agreement shall be governed and controlled by New York law.



Sincerely,



Labaton Sucharow LLP                                  Agreed to:

                                                      [LAW FIRM]
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By:___________________                         ______________________

  Michael P. Canty                             [NAME]
